    8:13-cb-00010-SMB        Doc # 22    Filed: 11/21/13     Page 1 of 1 - Page ID # 53




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )      8:13CB10
                                           )      Violation Number 1753507-NE14
                     Plaintiff,            )
                                           )
              vs.                          )      ORDER
                                           )
MELISSA L. DEBORTOLI,                      )
                                           )
                     Defendant.            )


       The motion of the United States Attorney=s Office (Filing No. 20) is granted. The bench

warrant in the above-referenced matter is hereby canceled and the matter is continued until

January 28, 2014.

       ORDERED this 21st day of November, 2013.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
